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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 LAURA BENY,

                          Plaintiff,         Case No. 2:22-cv-12021-DML-EAS

 v.                                          Hon. David M. Lawson,
                                             United States District Judge
 UNIVERSITY OF MICHIGAN,
 UNIVERSITY OF MICHIGAN LAW                  Hon. Elizabeth A. Stafford,
 SCHOOL, and DEAN MARK D.                    Magistrate Judge
 WEST (individual and professional
 capacity),                                  Demand for Jury Trial

                          Defendants.


        DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT

      Pursuant to the Court’s orders dated November 30, 2022 (ECF No. 18) and

December 21, 2022 (ECF No. 24), Defendants University of Michigan, University

of Michigan Law School (together, “University Defendants”), and Dean Mark D.

West (Defendant West) (collectively “Defendants”) respond to Plaintiff’s Complaint

(ECF No. 1).

      Defendants state that the following limitations and defenses apply to each and

every allegation in the Complaint, except as expressly set forth herein. The

Complaint violates Fed. R. Civ. P. 8(a) in that it seeks to present argument and

conclusion to which no response is required in this Answer and this Answer is
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intended, according to Fed. R. Civ. P. 8(b), to require only a short and plain statement

of the defenses. Defendants expressly state that all purported statements and

conclusions of purported law are denied for purposes of this Answer and legal

arguments and discussions of legal authority are expressly reserved.

      Defendants deny each allegation of the Complaint except those expressly

admitted. Paragraph numbers of the Answer refer to the corresponding numbered

paragraphs of the Complaint. To the extent any heading in the Complaint constitutes

an allegation, that allegation is denied.

      In providing this Answer, Defendants do not intend to, and do not, waive any

arguments, defenses, privileges, or immunities, including any arguments set forth in

Defendants’ pending Motion to Dismiss (ECF No. 11), all of which are expressly

preserved. In responding to the Complaint, Defendants do not admit the relevance

of any of Plaintiff’s allegations.

                                     I. PARTIES
                                 A. Federal Counts
      1.     Defendants admit that Plaintiff attempts to assert claims under the ADA

and the FMLA, but deny that Plaintiff is entitled to any relief.

      2.     Defendants admit that Plaintiff is an African American, female tenured

law professor. Defendants further admit that Plaintiff attempts to assert claims under




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Title, Title VII, Title IX, § 1981, and § 1983, but deny that Plaintiff is entitled to any

relief. Defendants deny the remaining allegations of paragraph 2 of the Complaint.

      3.     Defendants admit that Plaintiff attempts to assert claims under the First

Amendment, Fifth Amendment, and Fourteenth Amendment of the United States

Constitution, but deny that Plaintiff is entitled to any relief. Defendants deny the

remaining allegations of paragraph 3 of the Complaint.

                                   B. State Counts
      4.     Defendants admit that Plaintiff attempts to assert claims under the

Michigan Elliott-Larsen Civil Rights Act and Persons with Disabilities Civil Rights

Act, but deny that Plaintiff is entitled to any relief. Defendants deny the remaining

allegations of paragraph 4 of the Complaint.

      5.     Defendants admit that Plaintiff seeks remedies, including damages,

attorneys’ fees, costs, interest, and compensatory damages, but deny that Plaintiff is

entitled to any remedies.

                                     II. PARTIES
      6.     Defendants admit the allegations of paragraph 6 of the Complaint.

      7.     University Defendants admit that University of Michigan is a public

research university in Ann Arbor, Michigan, but specifically deny that that the

University of Michigan is a proper party that is capable of being sued. University

Defendants admit that the University was established on August 26, 1817.




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University Defendants admit that the University of Michigan is Michigan’s oldest

university. University Defendants admit that University of Michigan’s Law School

was established in 1859, but specifically deny that that the University of Michigan

is a proper party that is capable of being sued. University Defendants deny the

remaining allegations in paragraph 7 of the Complaint. Further responding,

Defendant West states that the allegations in paragraph 7 of the Complaint are not

directed at him and therefore no response is required. To the extent a response is

required, Defendant West lacks sufficient knowledge or information on which to

form a belief as to the truth of the allegations of paragraph 7 of the Complaint and,

on that basis, denies the allegations of paragraph 7 of the Complaint.

      8.     Defendants admit that Defendant West served as the Associate Dean of

the University of Michigan Law School from 2008 to 2013 and has served as the

Dean of the University of Michigan Law School from 2013 to the present.

Defendants deny the remaining allegations of paragraph 8 of the Complaint.

      9.     Defendants state that the allegation in paragraph 9 of the Complaint is

so vague and ambiguous that Defendants do not have sufficient knowledge or

information to form a belief as to the truth of the allegation and, on that basis, deny

the allegation of paragraph 9 of the Complaint.

      10.    University Defendants admit the allegation in paragraph 10 of the

Complaint. Defendant West lacks sufficient knowledge or information to form a




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belief as to the truth of the allegation and, on that basis, denies the allegation of

paragraph 10 of the Complaint.

      11.    University Defendants state that the allegations in paragraph 11 of the

Complaint are so vague and ambiguous that University Defendants do not have

sufficient knowledge or information to form a belief as to the truth of the allegations

and, on that basis, deny the allegations of paragraph 11 of the Complaint. Further

responding, Defendant West states that the allegations in paragraph 11 of the

Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 11 of the

Complaint and, on that basis, denies the allegations of paragraph 11 of the

Complaint. Defendants further state that the allegations of this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.

      12.    University Defendants state that the allegations in paragraph 12 of the

Complaint are so vague and ambiguous that University Defendants do not have

sufficient knowledge or information to form a belief as to the truth of the allegations

and, on that basis, deny the allegations of paragraph 12 of the Complaint. Further

responding, Defendant West states that the allegations in paragraph 12 of the

Complaint are not directed at him and therefore no response is required. To the extent




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a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 12 of the

Complaint and, on that basis, denies the allegations of paragraph 12 of the

Complaint. Defendants further state that the allegations of this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.

                   III. COMMON STATEMENT OF FACTS
      13.    Defendants admit that Plaintiff is an African American female who was

fifty-four years old as of the date of Plaintiff’s Complaint. Defendants lack sufficient

knowledge or information regarding the remaining allegations of paragraph 13 of

the Complaint, and on that basis, deny them.

      14.    Defendants admit that paragraph 14 of the Complaint accurately reflect

Plaintiff’s educational degrees and the dates that she received them. The remaining

allegation in paragraph 14 of the Complaint contains an opinion and therefore no

response is required. To the extent a response is required, Defendants deny the

remaining allegation in paragraph 14 of the Complaint.

      15.    University Defendants admit that Plaintiff was hired at University of

Michigan Law School in 2003. University Defendants admit that Plaintiff’s cohort

included John Pottow, a white male, and Jill Horwitz, a white female. University

Defendants lack sufficient knowledge or information regarding individuals’ salary




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expectations, and on that basis, deny those allegations. University Defendants deny

the remaining allegations in paragraph 15 of the Complaint. Defendant West lacks

sufficient knowledge or information on which to form a belief as to the truth of the

allegations of paragraph 15 of the Complaint and, on that basis, denies the

allegations of paragraph 15 of the Complaint.

      16.    Defendants state that the allegations regarding awards and research

grants in paragraph 16 of the Complaint are so vague and ambiguous that Defendants

do not have sufficient knowledge or information to form a belief as to the truth of

the allegations and, on that basis, deny those allegations. Defendants deny the

remaining allegations in paragraph 16 of the Complaint.

      17.    Defendants admit that since joining University of Michigan’s Law

School in 2003, Plaintiff has taught the courses listed in paragraph 17 of the

Complaint. Defendants deny the remaining allegations of paragraph 17 of the

Complaint.

      18.    University Defendants admit that paragraph 18 of the Complaint

accurately quotes a description of Plaintiff on the University of Michigan Law

School’s website. University Defendants deny the remaining allegations in

paragraph 18 of the Complaint. Further responding, Defendant West states that the

allegations in paragraph 18 of the Complaint are not directed at him and therefore

no response is required. To the extent a response is required, Defendant West lacks




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sufficient knowledge or information on which to form a belief as to the truth of the

allegations of paragraph 18 of the Complaint and, on that basis, denies the

allegations of paragraph 18 of the Complaint.

      19.   Defendants admit that Plaintiff was the second African American

female tenure track professor hired at University of Michigan Law School and that

there was an African American male tenured professor at the University of Michigan

Law School in 2003. Defendants deny the remaining allegations in paragraph 19 of

the Complaint.

      20.   Defendants admit that another African American female was hired on

the tenure track in 2022. Defendants deny the remaining allegations in paragraph 20

of the Complaint.

      21.   Defendants admit the allegations in paragraph 21 of the Complaint.

      22.   Defendants admit that a tenured African American female professor

retired from University of Michigan in or around 2012–2013 and that another

tenured African American female professor, who is on the University of Michigan

Law School website, has not been a fulltime professor since approximately 2018.

Defendants deny the remaining allegations in paragraph 22 of the Complaint.

      23.   Defendants deny the allegations in paragraph 23 of the Complaint.

                              A. Background Facts

      24.   Defendants deny the allegation in paragraph 24 of the Complaint.




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      25.    Defendants deny the allegations in paragraph 25 of the Complaint.

        B. Background Facts Showing Discrimination and Retaliation
      26.    Defendants deny that Plaintiff has not been treated the same as non-

African American and male professors. Defendants further state that the remaining

allegations in paragraph 26 of the Complaint are so vague and ambiguous that

Defendants do not have sufficient knowledge or information to form a belief as to

the truth of the allegations and, on that basis, deny the remaining allegations of

paragraph 26 of the Complaint.

      27.    Defendants deny the allegations of paragraph 27 of the Complaint.

      28.    Defendants deny the allegation of paragraph 28 of the Complaint.

      29.    Defendants lack sufficient knowledge or information regarding

whether Plaintiff was disrupted by a student in 2004–2005 while lecturing and, on

that basis, deny that allegation of paragraph 29 of the Complaint. Defendants deny

the remaining allegations in paragraph 29 of the Complaint. Defendants further state

that allegations within this paragraph contain legal conclusions not subject to

admission or denial; to the extent a response is required to those legal conclusions,

Defendants deny them.

      30.    University Defendants lack sufficient knowledge or information on

which to form a belief as to the truth of the allegations regarding whether John

Pottow and Jill Horwitz received greater funding for their research projects, on that




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basis, deny those allegations of paragraph 30 of the Complaint. University

Defendants deny the remaining allegations of paragraph 30 of the Complaint.

Defendant West states that the allegations in paragraph 30 of the Complaint are not

directed at him and therefore no response is required. To the extent a response is

required, Defendant West lacks sufficient knowledge or information on which to

form a belief as to the truth of the allegations regarding whether John Pottow and

Jill Horwitz received greater funding for their research projects and, on that basis,

denies those allegations of paragraph 30 of the Complaint. Further, to the extent a

response is required, Defendant West denies the remaining allegation of paragraph

30 of the complaint.

      31.    University Defendants deny the allegations in paragraph 31 of the

Complaint. Defendant West states that the allegations in paragraph 31 of the

Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 31 of the

Complaint and, on that basis, denies the allegations of paragraph 31 of the

Complaint. Defendants further state that allegations within this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.




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      32.    University Defendants deny the allegations in paragraph 32 of the

Complaint. Defendant West states that the allegations in paragraph 32 of the

Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 32 of the

Complaint and, on that basis, denies the allegations of paragraph 32 of the

Complaint.

      33.    Defendants deny the allegations of paragraph 33 of the Complaint.

Defendant West states that the allegations in paragraph 33 of the Complaint are not

directed at him and therefore no response is required. To the extent a response is

required, Defendant West denies the allegations of paragraph 33 of the Complaint.

      34.    Defendants admit the allegation of paragraph 34 of the Complaint.

      35.    Defendants deny the allegations of paragraph 35 of the Complaint.

      36.    Defendants admit the allegations of paragraph 36 of the Complaint.

      37.    Defendant West lacks sufficient knowledge or information on which to

form a belief as to the truth of the allegations of paragraph 37 of the Complaint and,

on that basis, denies the allegations of paragraph 37 of the Complaint. University

Defendants state that the allegations of paragraph 37 of the Complaint are not

directed at them and therefore no response is required. To the extent a response is

required, University Defendants lack sufficient knowledge or information on which




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to form a belief as to the truth of the allegations of paragraph 37 of the Complaint

and, on that basis, deny the allegations of paragraph 37 of the Complaint. Defendants

further state that allegations within this paragraph contain legal conclusions not

subject to admission or denial; to the extent a response is required to those legal

conclusions, Defendants deny them.

      38.    Defendants admit that another African American female professor

received tenure in 2009. Defendants deny the remaining allegations in paragraph 38

of the Complaint.

      39.    Defendants deny the allegations of paragraph 39 of the Complaint.

      40.    Defendant West lacks sufficient knowledge or information on which to

form a belief as to whether he sent an email in 2009 that is allegedly quoted in

paragraph 40 of the Complaint and, on that basis, denies that allegation of paragraph

40 of the Complaint. Defendant West denies the remaining allegations of paragraph

40 of the Complaint. University Defendants state that the allegations of paragraph

40 of the Complaint are not directed at them and therefore no response is required.

To the extent a response is required, University Defendants lack sufficient

knowledge or information on which to form a belief as to as to whether Dean West

sent an email in 2009 that is allegedly quoted in paragraph 40 of the Complaint and,

on that basis, deny that allegation of paragraph 40 of the Complaint. Further, to the

extent a response is required, University Defendants deny the remaining allegations




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of paragraph 40 of the Complaint. Defendants further state that allegations within

this paragraph contain legal conclusions not subject to admission or denial; to the

extent a response is required to those legal conclusions, Defendants deny them.

      41.    Defendant West lacks sufficient knowledge or information on which to

form a belief as to the truth of the allegations of paragraph 41 of the Complaint and,

on that basis, denies the allegations of paragraph 41 of the Complaint. University

Defendants state that the allegations of paragraph 41 of the Complaint are not

directed at them and therefore no response is required. To the extent a response is

required, University Defendants lack sufficient knowledge or information on which

to form a belief as to the truth of the allegations of paragraph 41 of the Complaint

and, on that basis, deny the allegations of paragraph 41 of the Complaint. Defendants

further state that allegations within this paragraph contain legal conclusions not

subject to admission or denial; to the extent a response is required to those legal

conclusions, Defendants deny them.

      42.    Defendant West admits that, in January 2010, he sent an email to

Plaintiff regarding putting a picture on his desk, a portion of which is quoted in

paragraph 42 of the Complaint. Defendant West lacks sufficient knowledge or

information on which to form a belief as to the truth of the allegation regarding

unsolicited advice referred to in paragraph 42 of the Complaint and, on that basis,

denies that allegation. Defendant West denies the remaining allegations of paragraph




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42 of the Complaint. University Defendants state that the allegations of paragraph

42 of the Complaint are not directed at them and therefore no response is required.

To the extent a response is required, University Defendants lack sufficient

knowledge or information on which to form a belief as to the truth of the allegations

of paragraph 42 of the Complaint and, on that basis, deny the allegations of

paragraph 42 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.

      43.    Defendant West admits that he sent Plaintiff an email on December 16,

2010, a portion of which is quoted in paragraph 43 of the Complaint. Defendant

West denies the remaining allegations of paragraph 43 of the Complaint. University

Defendants state that the allegations of paragraph 43 of the Complaint are not

directed at them and therefore no response is required. To the extent a response is

required, University Defendants lack sufficient knowledge or information on which

to form a belief as to the truth of the allegations of paragraph 43 of the Complaint

and, on that basis, deny the allegations of paragraph 43 of the Complaint. Defendants

further state that allegations within this paragraph contain legal conclusions not

subject to admission or denial; to the extent a response is required to those legal

conclusions, Defendants deny them.




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      44.    Defendant West denies the allegations of paragraph 44 of the

Complaint. University Defendants state that the allegations of paragraph 44 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants lack sufficient knowledge or

information on which to form a belief as to the truth of the allegations of paragraph

44 of the Complaint and, on that basis, deny the allegations of paragraph 44 of the

Complaint. Defendants further state that allegations within this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.

      45.    Defendants admit the allegation of paragraph 45 of the Complaint.

      46.    Defendants admit that in 2013, Plaintiff was asked to review the

academic writings of potential candidates, and that Mr. Pottow sent Plaintiff an

email, a portion of which is quoted in paragraph 46 of the Complaint. Defendants

deny the remaining allegation of paragraph 46 of the Complaint.

      47.    Defendants do not have sufficient knowledge or information to form a

belief as to the truth of the allegations of paragraph 47 of the Complaint and, on that

basis, deny the allegations of paragraph 47 of the Complaint.

      48.    Defendant West admits that Plaintiff spoke with him about allegations

that she was cut short in a 2014 alumnus meeting. Defendant West denies the

remaining allegations of paragraph 48 of the Complaint. University Defendants state




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that the allegations of paragraph 48 of the Complaint are not directed at them and

therefore no response is required. To the extent a response is required, University

Defendants lack sufficient knowledge or information on which to form a belief as to

the truth of the allegations of paragraph 48 of the Complaint and, on that basis, deny

the allegations of paragraph 48 of the Complaint.

      49.    Defendants admit the allegations of paragraph 49 of the Complaint.

      50.    Defendant West lacks sufficient knowledge or information on which to

form a belief as to the truth of the allegations of paragraph 50 of the Complaint and,

on that basis, denies the allegations of paragraph 50 of the Complaint. University

Defendants state that the allegations of paragraph 50 of the Complaint are not

directed at them and therefore no response is required. To the extent a response is

required, University Defendants lack sufficient knowledge or information on which

to form a belief as to the truth of the allegations of paragraph 50 of the Complaint

and, on that basis, deny the allegations of paragraph 50 of the Complaint.

      51.    Defendants admit that Plaintiff previously experienced a salary

deficiency, and that shortly after it was discovered in late 2014, Defendant West

informed Plaintiff that he would correct it immediately. Defendants deny the

remaining allegation of paragraph 51 of the Complaint.

      52.    Defendants admit that Defendant West immediately put in for, and

Plaintiff thereafter received, a retroactive pay increase to bring Plaintiff back into




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the same compensation level that Defendant University of Michigan Law School has

for cohorts hired at the same time. Defendants deny the remaining allegations of

paragraph 52 of the Complaint.

      53.    Defendants admit that, in or around 2015, Plaintiff expressed an interest

in serving on the personnel committee or the educational environment committee.

Defendants deny the remaining allegations of paragraph 53 of the Complaint.

      54.    Defendants admit that Plaintiff has not been placed on the personnel

committee and that the personnel committee assists in the process for hiring new

faculty. Defendants deny the remaining allegations of paragraph 54 of the

Complaint.

      55.    Defendants admit that, in or around 2015, Plaintiff filed a complaint

with OIE requesting an investigation of alleged salary differences among law school

faculty. Defendants deny the remaining allegations of paragraph 55 of the

Complaint.

      56.    Defendants admit that the OIE concluded there was no discrimination

or retaliation against Plaintiff. Defendants deny the remaining allegations of

paragraph 56 of the Complaint.

      57.    Defendants admit that in November 2016, Plaintiff was one of several

featured scholars in a student exhibit highlighting diversity in the law at Harvard law

school. Defendants deny the remaining allegations of paragraph 57 of the Complaint.




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      58.    Defendants admit that in 2017, the University of Michigan Law School

was the host institution for, and Plaintiff was a co-host for, an event named after one

of the first female law professors in the United States, the Lutie Lytle Black Women

Law Professors Conference and Writing Retreat. Defendants lack sufficient

knowledge or information regarding whether over 100 people attended the event at

the University of Michigan Law School, and on that basis, deny that allegation of

paragraph 58 of the Complaint. Defendants state that the allegations in paragraph 58

of the Complaint related to several professors seeking consideration for a

professorship at the University of Michigan are so vague and ambiguous that

Defendants do not have sufficient knowledge or information to form a belief as to

the truth of those allegations and, on that basis, deny those allegations of paragraph

58 of the Complaint. Defendants deny the remaining allegations of paragraph 58 of

the Complaint.

      59.    Defendants admit that Plaintiff took a medical leave of absence in fall

of 2017. Defendants deny the remaining allegations of paragraph 59 of the

Complaint.

      60.    Defendants deny the allegations of paragraph 60 of the Complaint.

      61.    Defendants state that the allegations of paragraph 61 of the Complaint

are so vague and ambiguous that Defendants do not have sufficient knowledge or

information to form a belief as to the truth of the allegations and, on that basis, deny




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the allegations of paragraph 61 of the Complaint. Defendants further state that

allegations within this paragraph contain legal conclusions not subject to admission

or denial; to the extent a response is required to those legal conclusions, Defendants

deny them.

      62.    Defendants admit that Plaintiff has spoken with Dean West between

2013 and the present. Defendants lack sufficient knowledge or information

regarding conversations Plaintiff has documented in writing and, on that basis, deny

those allegations. Defendants deny the remaining allegations of paragraph 62 of the

Complaint. Defendants further state that allegations within this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.

      63.    Defendants state that the they do not have sufficient knowledge or

information to form a belief as to the truth of the allegations in paragraph 63 of the

Complaint and, on that basis, deny the allegations of paragraph 63 of the Complaint.

Defendants state that allegations within this paragraph contain legal conclusions not

subject to admission or denial; to the extent a response is required to those legal

conclusions, Defendants deny them.

      64.    Defendants admit that Plaintiff wrote to Provost Susan Collins in 2022.

Defendants deny the remaining allegations in paragraph 64 of the Complaint.

Defendants state that allegations of paragraph 64 of the Complaint contain legal




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conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      65.    Defendants admit that Plaintiff made an unscheduled speech on

April 13, 2018 at a conference. Defendants lack sufficient knowledge or information

to form a belief as to the truth of the allegation regarding alleged conversations

between Plaintiff and students in advance of the conference, and, on that basis, deny

those allegations. Defendants deny the remaining allegations of paragraph 65 of the

Complaint. Defendants state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      66.    Defendants admit the allegations of paragraph 66 of the Complaint,

except Defendants deny that Plaintiff was not aware that the meeting was

disciplinary in nature and deny that Plaintiff was not aware that the April 19, 2018

meeting would be the first of two meetings about Plaintiff’s unscheduled speech at

the April 13, 2018 conference.

      67.    Defendants admit that Plaintiff was called into a meeting in May 2018

with Defendant West and Michele Frasier Wing and in that meeting Defendant West

handed Plaintiff a disciplinary letter, dated May 15, 2018, the content of which

speaks for itself. Defendants deny the remaining allegations of paragraph 67 of the

Complaint. Defendants state that allegations within this paragraph contain legal




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conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      68.    Defendants lack sufficient knowledge or information to form a belief

as to Plaintiff’s state of mind in fall of 2018, and, on that basis, deny those

allegations. Defendants deny the remaining allegations of paragraph 68 of the

Complaint.

      69.    Defendants admit that in Fall 2018, Plaintiff was asked to recommend

African American women whom the University of Michigan Law School should

consider hiring. Defendants deny the remaining allegations of paragraph 69 of the

Complaint.

      70.    Defendants admit that a male candidate was extended an offer by

University of Michigan Law School. Defendants lack sufficient knowledge or

information to form a belief as to whether any of the women Plaintiff recommended

were invited to the University of Michigan Law School for interviews and, on that

basis, deny those allegations of paragraph 70 of the Complaint. Defendants deny the

remaining allegations of paragraph 70 of the Complaint.

      71.    Defendants admit that on October 10, 2018, Plaintiff had an interaction

with Dean West’s Executive Assistant in the hallway outside the Dean’s office.

Defendants further admit that Plaintiff was subsequently called into a meeting with

Dean West and Michele Frasier Wing on November 6, 2018 and in that meeting they




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asked what happened during Plaintiff’s interaction with Defendant West’s assistant.

Defendants deny the remaining allegation of paragraph 71 of the Complaint.

      72.    Defendant West admits that he spoke to students who raised a

complaint regarding a white male professor about protections afforded by tenure and

that portions of that conversation are reflected in paragraph 72 of the Complaint.

Defendant West denies the remaining allegations of paragraph 72 of the Complaint.

University Defendants state that the allegations of paragraph 72 of the Complaint

are not directed at them and therefore no response is required. To the extent a

response is required, University Defendants lack sufficient knowledge or

information on which to form a belief as to the truth of the allegations of paragraph

72 of the Complaint and, on that basis, deny the allegations of paragraph 72 of the

Complaint. Defendants further state that allegations within this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.

      73.    Defendants do not have sufficient knowledge or information to form a

belief as to the truth of the allegations of paragraph 73 of the Complaint and, on that

basis, deny the allegations of paragraph 73 of the Complaint.

      74.    Defendants admit that Plaintiff was called into a meeting with

Defendant West and Michele Frasier Wing on February 7, 2019, that Plaintiff was

informed her attorney was not permitted to attend the meeting without a university




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attorney present, that during that meeting Defendant West handed Plaintiff a memo,

the content of which speaks for itself, that Plaintiff did not sign the memo, that

Plaintiff wrote a rebuttal and requested that it be included in her personnel file, and

that, as of 2022, all of Plaintiff’s sabbaticals and research leaves have been

eliminated until mid-2027. Defendants deny the remaining allegations of paragraph

74 of the Complaint.

      75.    Defendants admit that Plaintiff took a medical leave from work from

September 2019 to December 2019. Defendants deny the remaining allegation of

paragraph 75 of the Complaint.

      76.    Defendants admit that MACL is an executive educational program that

provides income for those professors who teach the course, that Plaintiff has

complained to Defendant West about her exclusion from the MACL program, that

she requested a review from the Office of Equity and Civil Rights, and that she was

the only African American female fulltime tenured professor at University of

Michigan Law School between 2018 and 2022. Defendants state that the allegation

in paragraph 76 of the Complaint regarding white males who are “junior” to Plaintiff

are so vague and ambiguous that Defendants do not have sufficient knowledge or

information to form a belief as to the truth of those allegation and, on that basis, deny

the allegations of paragraph 76 of the Complaint. Defendants deny the remaining

allegations of paragraph 76 of the Complaint.




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      77.    Defendant West admits that in March 2021, he issued an apology, the

content of which speaks for itself, regarding his book covers. Defendant West denies

the remaining allegations of paragraph 77 of the Complaint. University Defendants

state that the allegations of paragraph 77 of the Complaint are not directed at them

and therefore no response is required. To the extent a response is required, University

Defendants admit that in March 2021, Defendant West issued an apology, the

content of which speaks for itself, regarding his book covers. University Defendants

deny the remaining allegations of paragraph 77 of the Complaint. Defendants further

state that allegations within this paragraph contain legal conclusions not subject to

admission or denial; to the extent a response is required to those legal conclusions,

Defendants deny them.

      78.    Defendants lack sufficient knowledge or information regarding the

allegations of paragraph 78 of the Complaint and, on that basis, deny the allegations

of paragraph 78 of the Complaint.

      79.    Defendants admit that Associate Dean Kristina Daugirdas (“Associate

Dean Daugirdas”) communicated with Plaintiff in fall of 2021 regarding Plaintiff

taking off her mask in class in violation of policies, Plaintiff marking her students

too high on a grade curve, and Plaintiff teaching on Zoom. Defendants deny the

remaining allegations of paragraph 79 of the Complaint.




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      80.    Defendants admit that Plaintiff submitted complaints to the University

of Michigan Equity, Civil Rights & Title IX Office between November 2021 and

February 2022. Defendants deny the remaining allegations of paragraph 80 of the

Complaint. Defendants further state that allegations within this paragraph contain

legal conclusions not subject to admission or denial; to the extent a response is

required to those legal conclusions, Defendants deny them.

      81.    Defendants deny that Plaintiff informed the University of Michigan

Law School administration on February 8, 2022 that she had filed complaints with

ECRT and EEOC. Defendants state that the remaining allegations in paragraph 81

of the Complaint are so vague and ambiguous that Defendants do not have sufficient

knowledge or information to form a belief as to the truth of those allegations and, on

that basis, deny the remaining allegations of paragraph 81 of the Complaint.

      82.    Defendants admit that on February 9, 2022, Plaintiff received an email

from Associate Dean Daugirdas, the content of which speaks for itself. Defendants

deny the remaining allegations of paragraph 82 of the Complaint.

      83.    Defendants admit that Plaintiff informed Associate Dean Daugirdas

and Michelle Frasier Wing that she was seeking legal counsel and would not attend

the meeting. Defendants further admit that Plaintiff requested a copy of the student

complaint. Defendants deny the remaining allegations of Paragraph 83 of the

Complaint.




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      84.    Defendants deny the allegations of Paragraph 84 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      85.    Defendants admit that Plaintiff emailed Associate Dean Daugirdas and

Michelle Frasier Wing on February 12 and 13, 2022, the content of which speaks for

itself. Defendants deny the remaining allegations of paragraph 85 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      86.    Defendants admit that Plaintiff addressed the student complaint in her

class on February 14, 2022. Defendants lack sufficient knowledge or information

regarding the allegations of paragraph 86 of the Complaint and, on that basis, deny

the allegations of paragraph 86 of the Complaint.

      87.    Defendants admit that Associate Dean Daugirdas emailed Plaintiff on

February 14, 2022, the content of which speaks for itself, and that Plaintiff’s access

to UM “Canvas” was removed. Defendants deny the remaining allegations of

paragraph 87 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.




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      88.    Defendants admit that, on or about February 16, 2022, Plaintiff

informed University Defendants that she had retained a lawyer. Defendants further

admit that the administration scheduled a meeting with Plaintiff and her attorney on

February 25, 2022. Defendants deny the remaining allegations of paragraph 88 of

the Complaint.

      89.    Defendants admit that Plaintiff, and her attorney, met with Defendant

West, Associate Dean Daugirdas, and a representative from Human Resources on

February 25, 2022. Defendants deny the remaining allegations of paragraph 89 of

the Complaint.

      90.    Defendant West admits that during the February 25, 2022 meeting, he

stated he had not read the anonymous student complaint. Defendants deny the

remaining allegations of paragraph 90 of the Complaint. Defendants further state

that allegations within this paragraph contain legal conclusions not subject to

admission or denial; to the extent a response is required to those legal conclusions,

Defendants deny them.

      91.    Defendants admit that during the February 25, 2022 meeting, Dean

West told Plaintiff that she abandoned her duties, which Plaintiff denied. Defendants

deny the remaining allegations of paragraph 91 of the Complaint.




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      92.    Defendants lack sufficient knowledge or information regarding the

allegations of paragraph 92 of the Complaint and, on that basis, deny the allegations

of paragraph 92 of the Complaint.

      93.    Defendants admit that Kate Rychlinski sent Plaintiff an email on May

11, 2022, the content of which speaks for itself. Defendants lack sufficient

knowledge or information regarding the remaining allegations of paragraph 93 of

the Complaint and, on that basis, deny the remaining allegations of paragraph 93 of

the Complaint.

      94.    Defendants admit that University of Michigan Payroll sent an email on

April 12, 2022, the content of which speaks for itself. Defendants lack sufficient

knowledge or information regarding the remaining allegations of paragraph 94 of

the Complaint and, on that basis, deny the remaining allegations of paragraph 94 of

the Complaint.

      95.    Defendants lack sufficient knowledge or information regarding the

allegations of paragraph 95 of the Complaint and, on that basis, deny the allegations

of paragraph 95 of the Complaint.

      96.    Defendants admit that Kate Rychlinski emailed Plaintiff on April 15,

2022, a portion of which is quoted in paragraph 96 of the Complaint. Defendants

lack sufficient knowledge or information regarding the remaining allegations of




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paragraph 96 of the Complaint and, on that basis, deny the remaining allegations of

paragraph 96 of the Complaint.

      97.   Defendants admit that Dean West sent Plaintiff a letter on March 31,

2022, the content of which speaks for itself. Defendants deny the remaining

allegations of paragraph 97 of the Complaint.

      98.   Defendants admit that Dean West sent Plaintiff a letter on March 31,

2022, the content of which speaks for itself. Defendants deny the remaining

allegations of paragraph 98 of the Complaint.

      99.   Defendants admit that Dean West sent Plaintiff a letter on March 31,

2022, the content of which speaks for itself. Defendants deny the remaining

allegations of paragraph 99 of the Complaint.

      100. Defendants admit that Plaintiff submitted a letter regarding her return

to work plan, the content of which speaks for itself. Defendants deny the remaining

allegations of paragraph 100 of the Complaint.

      101. Defendants admit the allegations of paragraph 101 of the Complaint.

      102. Defendant West admits that he responded to Plaintiff on June 21, 2022,

the contents of which speak for itself. Defendants deny the remaining allegations of

paragraph 102 of the Complaint.

      103. Defendants deny the allegations of paragraph 103 of the Complaint.




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      104. Defendants admit that Plaintiff filed claims with the Equity, Civil

Rights, and Title IX Department between February 2022 and August 2022.

Defendants deny the remaining allegations of paragraph 104 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      105. Defendants admit that Plaintiff filed a charge with the EEOC on

May 13, 2022 and that she received a right to sue letter from the EEOC. Defendants

deny the remaining allegations of paragraph 105 of the Complaint.

                                    COUNT I
                     VIOLATIONS OF TITLE I
              AMERICANS WITH DISABILITIES ACT (ADA)
                    OF 1990 42 USC § 12111, et seq.

      106. Paragraph 106 “repeats, re-alleges and incorporates paragraph 1

through 105, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      107. Defendants deny the allegations of paragraph 107 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.




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      108. Defendant West denies the allegations of paragraph 108 of the

Complaint. University Defendants state that the allegations of paragraph 108 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants deny the allegations of

paragraph 108 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.

      109. Defendant West denies the allegations of paragraph 109 of the

Complaint. University Defendants state that the allegations of paragraph 109 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants deny the allegations of

paragraph 109 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.

      110. Defendants deny the allegations of paragraph 110 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.




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      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the ADA, but deny she is entitled

to any relief whatsoever.

                                    COUNT II

       VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
      111. Paragraph 111 “repeats, re-alleges and incorporates paragraph 1

through 110, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      112. Defendants deny the allegations of paragraph 112 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      113. Defendant West denies the allegations of paragraph 113 of the

Complaint. University Defendants state that the allegations of paragraph 113 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants deny the allegations of

paragraph 113 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.




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      114. Defendant West denies the allegations of paragraph 114 of the

Complaint. University Defendants state that the allegations of paragraph 114 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants deny the allegations of

paragraph 114 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.

      115. Defendants state that the allegations of paragraph 115 of the Complaint

are so vague and ambiguous that Defendants do not have sufficient knowledge or

information to form a belief as to the truth of the allegations and, on that basis, deny

the allegations of paragraph 115 of the Complaint.

      116. Defendants deny the allegations of paragraph 116 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the FMLA, but deny she is entitled

to any relief whatsoever.




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                                    COUNT III

         VIOLATION OF THE CIVIL RIGHTS ACT OF 1886 § 1981
      117. Paragraph 117 “repeats, re-alleges and incorporates paragraph 1

through 116, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      118. Defendants deny the allegations of paragraph 118 of the Complaint.

      119. Defendants deny the allegations of paragraph 119 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under § 1981 of the Civil Rights Act of

1886, but deny she is entitled to any relief whatsoever.

                                    COUNT IV
            VIOLATION OF THE CIVIL RIGHTS ACT OF 1866,
             AS AMENDED AND CODIFIED AT 42 USC § 1983
      120. Paragraph 120 “repeats, re-alleges and incorporates paragraph 1

through 119, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      121. University Defendants admit the allegations of paragraph 121 of the

Complaint. Defendant West states that the allegations in paragraph 121 of the




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Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 121 of the

Complaint and, on that basis, denies the allegations of paragraph 121 of the

Complaint.

      122. Defendants state that the allegations of paragraph 122 of the Complaint

are so vague and ambiguous that Defendants do not have sufficient knowledge or

information to form a belief as to the truth of the allegations and, on that basis, deny

the allegations of paragraph 122 of the Complaint. Defendants further state that

allegations within this paragraph contain legal conclusions not subject to admission

or denial; to the extent a response is required to those legal conclusions, Defendants

deny them.

      123. Defendants deny the allegations of paragraph 123 of the Complaint.

      124. Defendants deny the allegations of paragraph 124 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      125. Defendants deny the allegations of paragraph 125 of the Complaint.

Defendants further state that allegations within this paragraph contain legal




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conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under § 1983 of the Civil Rights Act of

1866, but deny she is entitled to any relief whatsoever.

                                     COUNT V

     VIOLATION OF TITLE VI OF THE CIVIL RIGHTS ACT OF 1964

      126. Paragraph 126 “repeats, re-alleges and incorporates paragraph 1

through 125, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      127. University Defendants admit the allegations of paragraph 127 of the

Complaint. Defendant West states that the allegations in paragraph 127 of the

Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 127 of the

Complaint and, on that basis, denies the allegations of paragraph 127 of the

Complaint.

      128. Defendants deny the allegations of paragraph 128 of the Complaint.

Defendants further state that allegations within this paragraph contain legal




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conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      129. Defendants deny the allegations of paragraph 129 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      130. Defendants deny the allegations of paragraph 130 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under Title VI of the Civil Rights Act of

1964, but deny she is entitled to any relief whatsoever.

                                    COUNT VI
        VIOLATION OF TITLE VII – CIVIL RIGHTS ACT OF 1964
     AS AMENDED 42 USC § 2000e, et seq. BASED ON SEX AND RACE

      131. Paragraph 131 “repeats and re-alleges and incorporates paragraph 1

through 130, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      132. Defendants admit that between August 2018 and August 2022, Plaintiff

was the only African American female fulltime tenured professor at University of



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Michigan Law School. Defendants further admit that around 2012-2013, an African

American female tenured professor retired. Defendants deny the remaining

allegations of paragraph 132 of the Complaint.

      133. Defendants deny the allegations of paragraph 133 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      134. Defendants deny the allegations of paragraph 134 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under Title VII of the Civil Rights Act

of 1964 based on sex and race, but deny she is entitled to any relief whatsoever.

                                   COUNT VII

              VIOLATION OF TITLE IX, 20 USC § 1681, et. seq.

      135. Paragraph 135 “repeats, re-alleges and incorporates paragraph 1

through 134, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.




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      136. University Defendants admit the allegations of paragraph 136 of the

Complaint. Defendant West states that the allegations in paragraph 136 of the

Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 136 of the

Complaint and, on that basis, denies the allegations of paragraph 136 of the

Complaint.

      137. Defendants deny the allegations of paragraph 137 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      138. Defendants deny the allegations of paragraph 138 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      139. Defendants deny the allegations of paragraph 139 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.




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      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under Title IX, but deny she is entitled

to any relief whatsoever.

                                   COUNT VIII

                U.S. CONSTITUTION – FIRST AMENDMENT
                         FREEDOM OF SPEECH

      140. Paragraph 140 “repeats, re-alleges and incorporates paragraph 1

through 139, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      141. Defendants deny the allegations of paragraph 141 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      142. Defendant West denies the allegations of paragraph 142 of the

Complaint. University Defendants state that the allegations of paragraph 142 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants deny the allegations of

paragraph 142 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.




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      143. Defendant West denies the allegations of paragraph 143 of the

Complaint. University Defendants state that the allegations of paragraph 143 of the

Complaint are not directed at them and therefore no response is required. To the

extent a response is required, University Defendants deny the allegations of

paragraph 143 of the Complaint. Defendants further state that allegations within this

paragraph contain legal conclusions not subject to admission or denial; to the extent

a response is required to those legal conclusions, Defendants deny them.

      144. Defendants deny the allegations of paragraph 144 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the First Amendment, but deny she

is entitled to any relief whatsoever.

                                        COUNT IX

                U.S. CONSTITUTION – FIFTH AMENDMENT

      145. Paragraph 145 “repeats, re-alleges and incorporates paragraph 1

through 144, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.




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      146. Defendant West admits that he sent Plaintiff a letter on Mach 31, 2022,

the content of which speaks for itself. Defendant West denies the remaining

allegations of paragraph 146 of the Complaint. University Defendants state that the

allegations of paragraph 146 of the Complaint are not directed at them and therefore

no response is required. To the extent a response is required, University Defendants

deny the allegations of paragraph 146 of the Complaint. Defendants further state that

allegations within this paragraph contain legal conclusions not subject to admission

or denial; to the extent a response is required to those legal conclusions, Defendants

deny them.

      147. Defendants deny the allegations of paragraph 147 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the Fifth Amendment, but deny

she is entitled to any relief whatsoever.




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                                     COUNT X

           U.S. CONSTITUTION – FOURTEENTH AMENDMENT
                EQUAL PROTECTION AND DUE PROCESS

      148. Paragraph 148 “repeats, re-alleges and incorporates paragraph 1

through 147, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      149. University Defendants admit the allegations of paragraph 149 of the

Complaint. Defendant West states that the allegations in paragraph 149 of the

Complaint are not directed at him and therefore no response is required. To the extent

a response is required, Defendant West lacks sufficient knowledge or information

on which to form a belief as to the truth of the allegations of paragraph 149 of the

Complaint and, on that basis, denies the allegations of paragraph 149 of the

Complaint.

      150. Defendants state that the allegations of paragraph 150 of the Complaint

are so vague and ambiguous that Defendants do not have sufficient knowledge or

information to form a belief as to the truth of the allegations and, on that basis, deny

the allegations of paragraph 150 of the Complaint. Defendants further state that

allegations within this paragraph contain legal conclusions not subject to admission

or denial; to the extent a response is required to those legal conclusions, Defendants

deny them.




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      151. Defendants deny the allegations of paragraph 151 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      152. Defendants deny the allegations of paragraph 152 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      153. Defendants deny the allegations of paragraph 153 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the Fourteenth Amendment, but

deny she is entitled to any relief whatsoever.

                                    COUNT XI

     VIOLATION OF MICHIGAN PERSONS WITH DISABILITIES
 CIVIL RIGHTS ACT (PWDCRA) BASED ON PERCEIVED DISABILITY

      154. Paragraph 154 “repeats, re-alleges and incorporates paragraph 1

through 153, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.



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      155. Defendants deny the allegations of paragraph 155 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      156. Defendants deny the allegations of paragraph 156 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the Michigan Persons With

Disabilities Civil Rights Act (PWDCRA) based on perceived disability, but deny

she is entitled to any relief whatsoever.

                                    COUNT XII
           VIOLATION OF THE MICHIGAN ELLIOTT-LARSEN
           CIVIL RIGHTS ACT (ELCRA) BASED ON SEX, RACE
                  AND FAMILIAL/MARITAL STATUS

      157. Paragraph 157 “repeats, re-alleges and incorporates paragraph 1

through 156, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      158. Defendants admit that between August 2018 and August 2022, Plaintiff

was the only African American female fulltime tenured professor at University of




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Michigan Law School. Defendants do not have sufficient knowledge or information

to form a belief as to the truth of the allegations that Plaintiff is a single parent of

one child and is not married, and on that basis, deny those allegations. Defendants

deny the remaining allegations of paragraph 158 of the Complaint.

      159. Defendants deny the allegations of paragraph 159 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      160. Defendants deny the allegations of paragraph 160 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under the Michigan Elliott-Larsen Civil

Rights Act (ELCRA) based on sex, race and familial/marital status, but deny she is

entitled to any relief whatsoever.




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                                   COUNT XIII

               HOSTILE WORK ENVIRONMENT BASED ON
                    SEX AND RACE UNDER ELCRA

      161. Paragraph 161 “repeats and re-alleges and incorporates paragraph 1

through 160, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      162. Defendant University of Michigan Law School and Defendant West

deny the allegations of paragraph 162 of the Complaint. Defendant University of

Michigan states that the allegations of paragraph 162 of the Complaint are not

directed at it and therefore no response is required. To the extent a response is

required, Defendant University of Michigan denies the allegations of paragraph 162

of the Complaint. Defendants further state that allegations within this paragraph

contain legal conclusions not subject to admission or denial; to the extent a response

is required to those legal conclusions, Defendants deny them.

      163. Defendants deny the allegations of paragraph 163 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief under ELCRA under a hostile work




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environment theory based on sex and race, but deny she is entitled to any relief

whatsoever.

                                  COUNT XIV

         RETALIATION UNDER ALL FEDERAL AND STATE
     STATUTORY AND CONSTITUTIONAL COUNTS ABOVE I-XIII

      164. Paragraph 164 “repeats and re-alleges and incorporates paragraph 1

through 163, as set forth here and above by reference.” In response, Defendants

restate and incorporate their answers to the preceding paragraphs.

      165. Defendants deny the allegations of paragraph 165 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      166. Defendants deny the allegations of paragraph 166 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.

      167. Defendants deny the allegations of paragraph 167 of the Complaint.

Defendants further state that allegations within this paragraph contain legal

conclusions not subject to admission or denial; to the extent a response is required

to those legal conclusions, Defendants deny them.




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       In response to Plaintiff’s unnumbered “WHEREFORE” paragraph,

Defendants admit that Plaintiff seeks relief for retaliation under Counts I-XIII above,

but deny she is entitled to any relief whatsoever.

                           AFFIRMATIVE DEFENSES
       Without assuming the burden of proof, and while reserving the right to assert

all applicable affirmative defenses supported in law and fact, Defendants assert the

following affirmative defenses:

       1.     Some or all of the Complaint fails to state a claim upon which relief can

be granted.

       2.     Some or all of the Complaint is barred by sovereign immunity.

       3.     Some or all of the Complaint is barred by qualified immunity.

       4.     Some or all of the Complaint is barred by governmental immunity.

       5.     Some or all of the Complaint is barred by individual governmental

immunity.

       6.     Some or all of the Complaint is barred because Defendants are improper

parties.

       7.     Some or all of the Complaint is barred because Plaintiff has failed to

serve the proper party, the Board of Regents.

       8.     Some or all of the Complaint is barred because Plaintiff lacks a cause

of action.




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      9.     Some or all of the Complaint is barred because Plaintiff lacks standing.

      10.    Some or all of the Complaint is barred by unclean hands.

      11.    Some or all of the Complaint is barred by waiver or equitable estoppel.

      12.    Some or all of the Complaint is barred by laches.

      13.    Some of all of the Complaint is barred by the applicable statutes of

limitations and/or repose, and/or are otherwise untimely.

      14.    Some or all of the Complaint is barred by failure to exhaust

administrative remedies and/or satisfy jurisdictional requirements.

      15.    Some or all of the Complaint is barred because Defendants did not

deprive Plaintiff of any constitutionally protected interests.

      16.    Some or all of the Complaint is barred because Defendants did not

deprive Plaintiff of any constitutionally protected process.

      17.    Some or all of the Complaint is barred because Plaintiff made no good

faith complaint of discrimination and did not otherwise engage in protected activity.

      18.    Assuming, arguendo, Plaintiff could demonstrate she engaged in

protected activity, some or all of the Complaint is barred because such protected

activities were not motivating factors in Defendants’ employment-related decisions

regarding Plaintiff. Further, even if Plaintiff could demonstrate that such protected

activities or rights were motivating factors, some or all of the Complaint remains




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barred because any employment actions taken by Defendants with respect to

Plaintiff would have been taken regardless of such protected activities or rights.

      19.    Some or all of the Complaint is barred to the extent that any acts or

omissions complained of by Plaintiff and attributed to Defendants were taken in

good faith and in conformity with, and in reliance on, an administrative regulation,

order, ruling, approval, or interpretation of applicable state and federal law, or upon

external facts upon which they reasonably relied.

      20.    Some or all of the Complaint is barred because Plaintiff was not

disabled and/or because Defendants reasonably accommodated her in all events, and

even if Defendants have not reasonably accommodated Plaintiff’s disability,

Defendants were unable to accommodate Plaintiff’s disability because of undue

hardship or business necessity.

      21.    Some or all of the Complaint is barred to the extent Plaintiff is

responsible for any breakdown in the interactive process that resulted in any alleged

failure to provide a reasonable accommodation.

      22.    Some or all of the Complaint is barred because Defendants, at all times,

complied with applicable laws, acted reasonably and in good faith, and exercised

due care and diligence toward Plaintiff.

      23.    Some or all the Complaint is barred because Plaintiff cannot establish

that Defendants acted maliciously or with reckless indifference to Plaintiff’s rights.




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       24.   Some or all of the Complaint is barred because Plaintiff was not entitled

to FMLA benefits and/or received all of the FMLA benefits to which Plaintiff was

entitled.

       25.   Some or all of the Complaint is barred because the condition prompting

Plaintiff’s need for leave did not qualify as a serious health condition under the

FMLA.

       26.   Some or all of the Complaint is barred because Defendants did not

interfere with, or deny, Plaintiff’s rights under the FMLA.

       27.   Some or all of the Complaint is barred because Defendants, at all times,

acted in good faith and had reasonable grounds for believing that their actions toward

Plaintiff did not violate the FMLA.

       28.   Some or all of the Complaint is barred because Defendants did not take

any adverse employment actions against Plaintiff.

       29.   Assuming arguendo, that Plaintiff could demonstrate an adverse

employment action, some or all of the Complaint is barred because the employment

actions taken with respect to Plaintiff were based on legitimate, non-

discriminatory/non-retaliatory reasons.

       30.   Assuming arguendo, that Plaintiff could demonstrate an adverse

employment action, some or all of the Complaint is barred by the doctrine of after-




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acquired evidence, to the extent Defendants learn of wrongdoing by Plaintiff that

would have led to the same actions.

      31.    Some or all of the Complaint is barred because there is no causal

connection, including between any purported protected activity and any purported

adverse employment action.

      32.    Plaintiff is estopped from recovering by operation of her own conduct

and/or has waived any right to recovery for that reason.

      33.    Defendants prohibit discrimination and retaliation and provide an

effective and available procedure by which employees can bring complaints and

such complaints are subject to prompt remedial action reasonably calculated to end

any discrimination or retaliation.

      34.    To the extent any intentional acts occurred, those acts occurred wholly

and entirely outside the scope or course of the actor’s employment, were not

authorized or sanctioned by Defendants, and Defendants, therefore, are not liable to

Plaintiff for any such acts.

      35.    Some or all of the Complaint is barred because Plaintiff has suffered no

damages, injuries, or losses.

      36.    Some or all of Complaint is barred by failure to mitigate damages.

      37.    Some or all of the remedies Plaintiff seeks are barred by constitutional

and statutory limitations, including, but not limited to, 42 U.S.C. § 1981a.




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      38.    Some or all of the remedies Plaintiff seeks are barred by doctrines of

offset and double recovery.

      39.    Plaintiff’s claims for equitable relief are barred by the failure to prove

an inadequate remedy at law.

      40.    Plaintiff is not entitled to any injunctive relief, punitive damages,

attorneys fees, or any other form of relief.

      41.    Defendants reserve the right to assert additional affirmative defenses as

they become known.

      WHEREFORE, Defendants deny that Plaintiff is entitled to any relief

requested in the Complaint. Defendants respectfully request that the Court dismiss

Plaintiff’s claims with prejudice and enter judgment for Defendants; deny Plaintiff’s

prayer for relief; grant Defendants attorneys’ fees and costs; and grant such other

and further relief as the Court deems just and proper.




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Dated:      January 4, 2023

                                      By: /s/ Jack M. Williams
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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 4, 2023, I caused the foregoing document to

be filed with the Clerk of the Court using CM/ECF, which will effectuate service

upon all counsel of record.



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